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                             No. 20-12838
                    The Honorable Linda V. Parker
                    ______________________________

                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
                   ______________________________

                        TONYA BOWLES, et al
                             Plaintiffs

                                    v.

                        ERIC R. SABREE, et al
                              Defendants
                    ______________________________

                 STIPULATED ORDER TO SEVER
                   ______________________________

     This action was brought by plaintiffs Tonya Bowles (“Bowles”) and

Bruce Taylor. Plaintiff Bowles, on behalf of herself and a proposed class,

sought redress against Wayne County and its treasurer, Eric Sabree,

arising out of the foreclosure of her real property in Wayne County for

unpaid real property taxes. Plaintiff Taylor, on behalf of himself and a

proposed class, sought redress against Oakland County and its treasurer,

Andrew Meisner, for substantially the same claims relating to his

Oakland County Property. Wayne County and Mr. Sabree have




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previously sought to sever Mr. Taylor’s claims against them into a

separate action. See generally E.C.F. 74.

     Mr. Taylor, on behalf of himself and class, settled with the Oakland

County defendants. This settlement was preliminarily approved, E.C.F.

72, and finally approved on December 12, 2022, E.C.F. 106 (the “Oakland

County Settlement”). The Wayne County defendants appealed final

approval of the Oakland County Settlement. E.C.F. 109.

     Previously, the Wayne Defendants filed a F.R.C.P. 23(f) Petition as

to class certification, which was granted by the Sixth Circuit on March

15, 2023 and is now pending (E.C.F. 123, Sixth Circuit Case No. 23-1256).

     In addition, the Wayne Defendants have an appeal pending before

the Sixth Circuit on immunity issues (E.C.F. 86, Sixth Circuit Case No.

22-1912). Both appeals arise from Omnibus Orders, which among other

items, granted class certification and denied motions to dismiss. (E.C.F.

47 and 72).

     Rule 21 of the Federal Rules of Civil Procedure grant the Court

broad discretion in determining whether to sever claims into separate

actions. Parchman v. SLM Corp., 896 F.3d 728, 733 (6th Cir. 2018).

Severance, even in the absence of misjoinder, is appropriate where it



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would advance settlement of claims or judicial economy. H.R. ex rel.

Reuter v. Medtronic, Inc., 996 F. Supp. 2d 671, 682 (S.D. Ohio 2014).

Severance of claims creates two discrete, independent actions which then

proceed as separate suits. Kitchen v. Heyns, 802 F.3d 873, 874 (6th Cir.

2015). Courts treat severed claims as if the plaintiff had originally filed

two separate lawsuits. Id. at 875.

        Based upon the relief being stipulated to below, the Court does find

that severance of plaintiff Bowles’ claims, on behalf of herself and the

Wayne County Class, against the Wayne County defendants would more

efficiently advance this litigation. It is therefore ORDERED:

1.      Bowles’ claims, on behalf of herself and the Wayne County Class

against Wayne County and Eric Sabree shall be severed from this action

pursuant to F.R.C.P. 21.

2.      The Clerk of the Court shall assign a new case number for these

claims against the Wayne County defendants and mark the new case as

related to this original action and assign it to the undersigned judge.

3.      From the date notice of the new case number is given, Class

Counsel shall have 30 days to pay the appropriate filing fee, if any, and

file an amended complaint in that new case, which will not contain any



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new claims nor parties and be directed against the Wayne County

defendants only. This paragraph shall not prejudice any later request to

add new claims or parties nor prejudice any opposition to such a request,

if made.

4.      All prior rulings of the Court in this matter will be applicable in the

severed case and all appellate rights shall be preserved, including the

Wayne County defendants appeals before the Sixth Circuit set forth

above, except that the Wayne County defendants will withdraw, and

immediately dismiss their appeal regarding the Oakland County

Settlement, and thereafter waive any right they allege to have to appeal

the Oakland County Settlement and related attorney fees and service

fees among Class Counsel, Plaintiff Taylor and others and Oakland

County. Class Counsel and Oakland County will also withdraw and

dismiss their pending motions in the Sixth Circuit relating to the Wayne

County defendants appeal regarding the Oakland County Settlement.

IT IS SO ORDERED.


                                             s/ Linda V. Parker
                                             LINDA V. PARKER
                                             U.S. DISTRICT JUDGE
 Dated: April 25, 2023



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I stipulate to entry of the above order:


 Date: April 20, 2023                    /S/ William H. Horton, Esq.
                                         WILLIAM H. HORTON (P31567)
                                         Attorney for Oakland Cnty. Defs.

 Date: April 20, 2023
                                         /S/ Theodore W. Seitz, Esq.
                                         THEODORE W. SEITZ (P60320)
                                         Attorney for Wayne Cnty. Defs.
 Date: April 20, 2023
                                         /S/ Aaron D. Cox, Esq.
                                         AARON D. COX (P69346)
                                         Attorney for Plaintiffs
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